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11
12                      UNITED STATES DISTRICT COURT
13                 FOR THE CENTRAL DISTRICT OF CALIFORNIA
                              WESTERN DIVISION
14
15     EAST YARD COMMUNITIES FOR                  Civ. No.
       ENVIRONMENTAL JUSTICE,
16
                                                  COMPLAINT FOR
17                     Plaintiff,                 DECLARATORY AND
18                                                INJUNCTIVE RELIEF
       v.
19                                                (Clean Air Act § 304(a),
20                                                42 U.S.C. § 7604(a))
       PHILLIPS 66 COMPANY d.b.a. LA
21     REFINERY WILMINGTON PL and
22     LOS ANGELES REFINERY,
23
                      Defendant.
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1                                       INTRODUCTION
2         1.         Plaintiff East Yard Communities for Environmental Justice (“East
3      Yard” or “Plaintiff”) brings this action to enforce South Coast Air Quality
4      Management District Rules 1173 and 1176. These rules provide control measures
5      designed to prevent volatile organic compounds (“VOC”) releases from
6      components in process and wastewater systems at refineries. Because this action
7      arises under and concerns violations of the federal Clean Air Act, this Court has
8      jurisdiction under 28 U.S.C. § 1331.
9         2.         In Southern California, more people die every year from air pollution
10     than from traffic accidents and crime-related deaths combined. Lung-searing
11     ozone is a major contributor to these premature deaths in the region and chronic
12     health conditions such as asthma.
13        3.         Ozone forms through a chemical reaction between VOC and nitrogen
14     oxides in the presence of sunlight. Several VOCs are also cancer-inducing
15     hazardous air pollutants. In the Los Angeles area, petroleum refineries are a
16     significant source of VOC releases.
17        4.         Component leaks are the single largest source of VOC releases at
18     refineries.
19        5.         Defendant Phillips 66 Company (“Phillips 66” or “Defendant”) has
20     failed to comply with the requirements of Rules 1173 and 1176. Defendant has
21     failed to conduct regular inspections and repairs of leaking components, perform
22     follow-up inspections, and identify all components requiring inspections, among
23     other non-compliance.
24        6.         Defendant’s non-compliance has resulted in significant VOC releases
25     that cause ozone formation in the region, and expose residents in the region to
26     hazardous VOCs. This air pollution has caused, or threatens to cause, negative
27     health effects for East Yard’s members.
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1         7.      Through this action, East Yard seeks injunctive and declaratory relief,
2      including an assessment of civil penalties, against Defendant for violations of
3      Rules 1173 and 1176. Without an order from this Court, Defendant’s violations
4      of these VOC control measures will continue.
5                              JURISDICTION AND VENUE
6         8.      This Court has subject matter jurisdiction under 42 U.S.C. § 7604(a)
7      to enforce “an emission standard or limitation, . . . and to apply any appropriate
8      civil penalties” against Defendant for the violations alleged in this Complaint.
9      This Court also has subject matter jurisdiction under 28 U.S.C. § 1331 as a civil
10     action arising under the laws of the United States.
11        9.      Venue is proper in this Court under 42 U.S.C. § 7604(c)(1) because
12     Defendant operates two petroleum refineries located in Los Angeles County,
13     California. In addition, venue is proper under 28 U.S.C. § 1391(b)(2) because the
14     violations alleged in the Complaint occurred in this judicial district.
15                             NOTICE OF INTENT TO SUE
16        10.      Under the Clean Air Act, 42 U.S.C. § 7401, et seq., East Yard is
17     required to provide notice 60 days prior to commencing this action. 42 U.S.C. §
18     7604(b)(1)(A). East Yard provided notice via certified mail of the violations
19     alleged in this Complaint to Defendant on April 29, 2020, as required under 42
20     U.S.C. § 7604(b)(1)(A). See Exhibits 1–2 (Notice of Intent to Sue and Delivery
21     Confirmations).
22        11.      More than 60 days have elapsed since East Yard provided notice
23     concerning the violations alleged in this Complaint. Defendant has failed and will
24     continue to fail to comply with the regulatory obligations detailed in the notice.
25                                         PARTIES
26        12.      Plaintiff EAST YARD is an environmental health and justice non-
27     profit membership organization based in Long Beach, California. East Yard’s
28     mission is to create a safe and healthy environment for communities
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                 COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
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1      disproportionately suffering the negative impacts of industrial pollution in the
2      region.
3         13.      East Yard members reside, work, learn, and recreate in the Carson,
4      Wilmington, and West Long Beach communities near the Defendant’s petroleum
5      refineries, as well as in East Los Angeles. Defendant’s repeated and ongoing
6      violations of regulations to control releases of VOCs from refinery components
7      adversely affect East Yard members and their families.
8         14.      Defendant’s non-compliance results in actual and threatened harm to
9      the health, educational, and economic interests of East Yard members, as well as
10     the recreational enjoyment of their communities.
11        15.      Interests of East Yard members directly harmed by Defendant’s non-
12     compliance include, but are not limited to: (1) breathing clean air without
13     pollution and the negative health effects, and threatened health effects, caused by
14     Defendant’s excessive VOC releases; (2) using and enjoying property unimpaired
15     by pollution caused by Defendant’s excessive VOC releases; (3) enjoying
16     recreational activities outside, including neighborhood running and biking,
17     unaffected by pollution caused by Defendant’s excessive VOC releases; (4)
18     knowing the full extent of VOC releases from component leaks, including
19     harmful levels of VOCs; and (5) enjoying the right to adherence by refineries to
20     Clean Air Act requirements where members live, work, learn, and recreate. See
21     Exhibits 3–7 (Declarations of East Yard Members).
22        16.      Defendant PHILLIPS 66 is a petroleum refining and petrochemical
23     company headquartered in Houston, Texas. Phillips 66 owns and operates twelve
24     petroleum refineries in the United States, including two petroleum refineries in
25     Wilmington and Carson, California.
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1                 STATUTORY AND REGULATORY FRAMEWORK
2           A.    Clean Air Act
3         17.      The Clean Air Act’s purpose is to “protect and enhance the quality of
4      the Nation’s air resources so as to promote the public health and welfare and the
5      productive capacity of its population.” 42 U.S.C. § 7401(b)(1). The Clean Air
6      Act is based on “cooperative” federalism involving “Federal, State, regional, and
7      local programs to prevent and control air pollution.” 42 U.S.C. § 7401(a)(4).
8         18.      Accordingly, the Clean Air Act requires the U.S. Environmental
9      Protection Agency (“EPA”) to promulgate primary and secondary national
10     ambient air quality standards (“NAAQS”). 42 U.S.C. § 7409(a). Primary
11     NAAQS are set at a level “requisite to protect the public health.” 42 U.S.C. §
12     7409(b)(1). Secondary NAAQS are set at a level “requisite to protect the public
13     welfare from any known or anticipated adverse effects associated with the
14     presence of such air pollutant in the ambient air.” 42 U.S.C. § 7409(b)(2).
15        19.      EPA has promulgated NAAQS for six criteria pollutants: carbon
16     monoxide, lead, nitrogen dioxide, ozone, particulate matter, and sulfur dioxide.
17     40 C.F.R. § 50.4, et seq. EPA reviews these NAAQS in “five-year intervals” for
18     revisions. 42 U.S.C. § 7409(d)(1).
19        20.      Under the Clean Air Act, EPA designates areas that do not meet
20     NAAQS as “nonattainment” areas. 42 U.S.C. § 7407(d)(1)(A)(i). In contrast,
21     areas that meet NAAQS are “attainment” areas. 42 U.S.C. § 7407(d)(1)(A)(ii).
22          B.    State Implementation Plans
23        21.      States are primarily responsible for achieving and maintaining
24     NAAQS. 42 U.S.C. § 7407(a). Accordingly, the Clean Air Act requires states to
25     submit a state implementation plan (“SIP”) for EPA review and approval that
26     “provides for implementation, maintenance, and enforcement” of NAAQS. 42
27     U.S.C. § 7410(a)(1); 42 U.S.C. § 7407(a). Each SIP must include “enforceable
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                 COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
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1      emission limitations and other control measures, means, or techniques” to meet
2      NAAQS. 42 U.S.C. § 7410(a)(2)(A).
3         22.      EPA has authority to enforce SIP requirements against any person
4      through an “order requiring such person to comply,” “administrative penalty
5      order,” or “civil action.” 42 U.S.C. § 7413(a)(1). Further, the Clean Air Act
6      establishes that “any person may commence a civil action” against a source in
7      violation or that violated “an emission standard or limitation.” 42 U.S.C. §
8      7604(a)(1). An “emission standard or limitation” includes any “standard,
9      limitation, or schedule” under a SIP approved by EPA and “any permit term or
10     condition.” 42 U.S.C. § 7604(f).
11          C.    South Coast Air Quality Management District
12        23.      South Coast Air Quality Management District (“Air District”) is a
13     regional agency responsible for implementing and enforcing the Clean Air Act in
14     California’s South Coast Air Basin (“Basin”). Cal. Health & Safety Code §§
15     40402(h), 40460, 42400.4.
16        24.      The Basin includes portions of Los Angeles, Orange, Riverside, and
17     San Bernardino counties. Cal. Health & Safety Code § 40410. The Air District is
18     responsible for controlling emissions from stationary sources of air pollution.
19     Cal. Health & Safety Code § 40000.
20        25.      In that capacity, the Air District administers the Title V permit
21     program under the Clean Air Act for “major sources” of air pollution. Cal. Health
22     & Safety Code § 42301.11; 42 U.S.C. § 7661.
23        26.      The Air District also prepares the SIP for the Basin to achieve and
24     maintain federal NAAQS. Cal. Health & Safety Code § 40460(a). The SIP
25     includes rules promulgated by the Air District that establish control measures for
26     various pollutants. Cal. Health & Safety Code § 40460.
27        27.      EPA reviews and approves Air District rules included in the SIP. Cal.
28     Health & Safety Code § 40460(d). Moreover, Title V permits incorporate these
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                 COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
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1      SIP-approved rules, including any “emission limits, standards, and other
2      requirements that ensure compliance with all federal Clean Air Act” mandates.
3      Cal. Health & Safety Code § 42301.10.
4                                GENERAL ALLEGATIONS
5              A.   South Coast Air Basin Pollution
6         28.        The Basin remains in “extreme” nonattainment of various federal
7      NAAQS, including ozone. Ozone forms through a chemical reaction between
8      VOCs and nitrogen oxides in the presence of sunlight.
9         29.        Ozone compromises lung function in children and causes negative
10     health effects, such as asthma. Several VOCs are also cancer inducing and
11     hazardous air pollutants under the Clean Air Act, including benzene. 42 U.S.C. §
12     7412.
13        30.        Benzene is a sweet-smelling chemical that is carcinogenic to humans.
14     Chronic lifetime exposure to benzene concentrations as low as 0.13 to 0.45
15     micrograms per cubic meter have been linked to an increased cancer risk.
16        31.        Petroleum refineries contribute about 32 percent of total VOCs in the
17     Wilmington, Carson, and West Long Beach areas. According to EPA, component
18     leaks are the single largest source of VOCs at refineries.
19        32.        The Basin hosts the largest concentration of refineries in California,
20     including the largest refinery on the West Coast. These refineries are largely
21     concentrated in the Wilmington, Carson, and West Long Beach areas.
22             B.   Phillips 66 Wilmington and Carson Refineries
23        33.        Phillips 66 owns and operates two interconnected refineries in
24     Wilmington and Carson, California, which process 139,000 barrels per day of
25     crude oil.
26        34.        The Phillips 66 Carson refinery receives and processes crude oil into
27     intermediate products sent via pipeline to the Phillips 66 Wilmington refinery.
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                    COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
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1      These intermediate products undergo further conversion to produce various fuels,
2      including gasoline, jet fuel, and diesel.
3         35.      The Phillips 66 Wilmington and Carson refineries are significant
4      sources of VOC emissions, according to annual emissions inventories reported to
5      the Air District. In 2018, the Phillips 66 Wilmington refinery reported 205 tons of
6      VOC emissions, including 508 pounds of benzene. Phillips 66 Carson reported
7      86 tons of VOC emissions, including 649 pounds of benzene.
8         36.      These annual emissions inventories underreport actual VOC releases
9      from refineries, according to an Air District study published in 2017. The study
10     determined the Phillips 66 Wilmington and Carson refineries are among the
11     worst offenders in the Basin for underreporting VOC emissions.
12        37.      The study confirmed serious discrepancies between reported
13     emissions inventories and onsite refinery emissions. For VOC emissions
14     generally, the study found that refineries surveyed released 6.2 times more VOCs
15     than reported in annual emissions inventories. For benzene emissions in
16     particular, however, the study found that refineries surveyed released 34 times
17     more benzene than reported in annual emissions inventories.
18        38.      Among the specific refineries surveyed, the study determined the
19     Phillips 66 Carson refinery emitted 8.3 times more VOCs and 33 times more
20     benzene, and the Phillips 66 Wilmington refinery released 12 times more VOCs
21     and 202 times more benzene than reported in annual emissions inventories.
22     According to the study, the Phillips 66 Wilmington refinery has the largest
23     uncontrolled and unreported VOC emissions of all refineries in the Basin.
24          C.    Volatile Organic Compound Control Measures
25        39.      In an effort to control VOC emissions from petroleum refineries in
26     the Basin, the Air District adopted Rules 1173 and 1176. These rules establish
27     requirements for leak detection and repair (“LDAR”) programs at refineries.
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                 COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
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1         40.      Rule 1173 controls VOC releases from refinery process components,
2      including valves, fittings, pumps, compressors, pressure relief devices,
3      diaphragms, hatches, sight-glasses, and meters. Rule 1173(a), (c)(4).
4         41.      Rule 1176 controls VOC releases from “wastewater systems,”
5      including “process drains, sewer lines, junction boxes, manholes, sumps, or
6      wastewater separators” and “associated components.” Rule 1176(a), (c)(24).
7         42.      EPA approved these rules as part of California’s SIP and they also
8      are incorporated into Title V operating permits. 40 C.F.R. § 52.220.
9      Consequently, these rules are federally enforceable under the Clean Air Act. 42
10     U.S.C. § 7604(f)(4); 42 U.S.C. § 7413(b); 40 C.F.R. § 52.23.
11        43.      Under both Rules 1173 and 1176, refineries are required to (1)
12     inspect components using an analyzer to measure VOC emissions; (2) repair
13     components leaking VOCs above the applicable regulatory emissions threshold;
14     (3) take leak measurements to confirm the repair controlled excess emissions
15     within the required repair deadline; and (4) conduct follow-up inspections to
16     ensure repairs adequately controlled component leaks long-term. Refineries are
17     required to provide quarterly inspection records to the Air District detailing all
18     inspections, repairs, and reinspections.
19        44.       Phillips 66 has failed, and continues to fail, to comply with Rules
20     1173 and 1176 VOC control measures at its Wilmington and Carson refineries.
21     This noncompliance has contributed to ozone formation in the region; exposed
22     residents to hazardous VOCs; and harmed or threatened the health of East Yard’s
23     members and other surrounding communities near these refineries.
24                             FIRST CLAIM FOR RELIEF
25              Failure to Perform and/or Report Proper Component Repairs
26                  (Violation of Rule 1173; Title V Permit Requirements)
27        45.      East Yard re-alleges and incorporates the allegations set forth in
28     Paragraphs 1 through 44.
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                  COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
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1          46.      Rule 1173 requires refineries to “repair, replace, or remove a leaking
2       component as soon as practicable but no later than the time period specified”
3       under the applicable repair period. Rule 1173(g)(1).
4          47.      These time periods range from 1 calendar day for any component
5       leak over 25,000 parts per million (ppm) to 7 calendar days for components in
6       light liquid/gas/vapor service leaking above 500 ppm. Rule 1173(g)(1).
7          48.      Rule 1173 requires refineries to submit quarterly inspection reports
8       “no later than 30 days after the end of each calendar quarter” containing all
9       “repairs” for that period. Rule 1173(i)(1).
10         49.      Phillips 66 has failed to perform and/or report timely component
11      repairs, including replacements or removals, at the Wilmington and Carson
12      refineries since 2014. Additionally, Phillips 66 has failed to perform and/or report
13      necessary component repairs, including replacements or removals, at least 646
14      times at the Wilmington and Carson refineries since 2014.
15         50.       Without an order from this Court restraining and penalizing Phillips
16      66, these violations will continue.
17                             SECOND CLAIM FOR RELIEF
18           Failure to Confirm and/or Report Adequacy of Component Repairs
19                   (Violation of Rule 1173; Title V Permit Requirements)
20         51.      East Yard re-alleges and incorporates the allegations set forth in
21      Paragraphs 1 through 50.
22         52.      Rule 1173 sets leak limits for various component categories,
23      including a 500 ppm limit for components in light liquid/gas/vapor service, 200
24      ppm limit for atmospheric pressure relief devices, and 100 ppm limit for
25      components in heavy liquid service. Rule 1173(g)(1).
26         53.      Refineries must repair, including replace or remove, components
27      leaking above the applicable limit within time periods set under Rule 1173. Rule
28      1173(g)(1). These repair time periods range from 1 calendar day for any leaks
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                  COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
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1       above 25,000 ppm to 7 calendar days for components in light liquid/gas/vapor
2       service leaking above 500 ppm. Rule 1173(g)(1).
3          54.      After conducting component repairs, refineries must take leak-rate
4       measurements to prove the corrective action reduced the leak below the
5       applicable threshold within the required repair time period. These measurements
6       are generally taken contemporaneous to a repair or immediately thereafter.
7       Without this measurement, refineries cannot determine whether the corrective
8       action actually constitutes a repair.
9          55.      Phillips 66 has failed to take and/or report leak-rate measurements
10      after conducting repairs at least 710 times since 2014 at the Wilmington and
11      Carson refineries.
12         56.      Without an order from this Court restraining and penalizing Phillips
13      66, these violations will continue.
14                               THIRD CLAIM FOR RELIEF
15               Failure to Perform and/or Report Component Reinspections
16                     (Violation of Rule 1173; Title V Permit Requirements)
17         57.      East Yard re-alleges and incorporates the allegations set forth in
18      Paragraphs 1 through 56.
19         58.      Rule 1173 requires refineries to reinspect “all repaired or replaced
20      components within 30 days of the repair or replacement.” Rule 1173(f)(1)(F).
21      These reinspections ensure repaired or replaced components are in compliance
22      with Rule 1173, and are separate from the post-leak measurements. Non-
23      compliant components identified by reinspections must undergo another repair or
24      replacement.
25         59.      Rule 1173 requires refineries to submit quarterly inspection reports
26      “no later than 30 days after the end of each calendar quarter” containing all
27      “reinspections” for that period. Rule 1173(i)(1).
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                  COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
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1          60.      Phillips 66 has failed to conduct and/or report reinspections within 30
2       days after component repairs or replacements at least 9,330 times since 2014 at
3       the Wilmington and Carson refineries.
4          61.      Without an order from this Court restraining and penalizing Phillips
5       66, these violations will continue.
6                               FOURTH CLAIM FOR RELIEF
7            Failure to Conduct, Maintain, and/or Report Quarterly Inspections
8                    (Violation of Rule 1173; Title V Permit Requirements)
9          62.      East Yard re-alleges and incorporates the allegations set forth in
10      Paragraphs 1 through 61.
11         63.      Rule 1173 requires refineries to submit quarterly inspection reports
12      “no later than 30 days after the end of each calendar quarter” to the Air District.
13      Rule 1173(i)(1). These quarterly inspection reports must include “all leaks,
14      repairs, and reinspections” for each period. Rule 1173(i)(1). Refineries are
15      required to maintain these inspection reports for at least 5 years. Rule 1173(i)(2).
16         64.      Based on information and belief, Phillips 66 has repeatedly failed to
17      submit and maintain quarterly inspection reports, and/or perform the required
18      quarterly inspections for the Wilmington and Carson refineries.
19         65.      Without an order from this Court restraining and penalizing Phillips
20      66, these violations will continue.
21                              FIFTH CLAIM FOR RELIEF
22                   Failure to Comply with Component Leak Standards
23                   (Violation of Rule 1173; Title V Permit Requirements)
24         66.      East Yard re-alleges and incorporates the allegations set forth in
25      Paragraphs 1 through 65.
26         67.      Rule 1173 establishes leak standards limiting the number of leaking
27      components and VOC releases from various component categories.
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1          68.         Refineries are in violation of these leak standards if an Air District
2       inspection detects any of the following:
3                a.    “light liquid leak of more than three drops per minute”;
4                b.    “leak greater than 50,000 ppm from a component in light
5                liquid/gas/vapor service”;
6                c.    “leak greater than 500 ppm from a component in heavy liquid
7                service”;
8                d.    “leak within any continuous 24-hour period and numbering in excess
9                of the Leak Thresholds” applicable to that component category; and
10               e.    “open-ended lines and valves located at the end of lines that are not
11               sealed with a blind flange, plug, cap, or a second closed valve at all times”
12               with some exceptions. Rule 1173(d)(1)(A)-(E).
13         69.         Phillips 66 has repeatedly failed to comply with leak standards since
14      2015 at the Wilmington and Carson refineries.
15         70.         Without an order from this Court restraining and penalizing Phillips
16      66, these violations will continue.
17                                 SIXTH CLAIM FOR RELIEF
18               Failure to Identify Components Subject to LDAR Requirements
19                      (Violation of Rule 1173; Title V Permit Requirements)
20         71.         East Yard re-alleges and incorporates the allegations set forth in
21      Paragraphs 1 through 70.
22         72.         Under Rule 1173, refineries are required to identify and tag all
23      components subject to LDAR program inspections. In practice, refineries tag and
24      log components into an LDAR database to ensure regular leak inspections and
25      repairs.
26         73.         Refineries must “identify clearly and visibly all major components in
27      light liquid/gas/vapor service and pumps in heavy liquid service for inspection,
28      repair, replacement, and recordkeeping purposes.” Rule 1173(e)(1).
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1          74.         Moreover, refineries must “identify all major components in heavy
2       liquid service” and “minor components . . . for inspection, repair, replacement,
3       and recordkeeping purposes.” Rule 1173(e)(2).
4          75.         Phillips 66 has failed to identify all components subject to Rule 1173
5       inspections, including 637 components since 2014 at the Wilmington and Carson
6       refineries.
7          76.         Without an order from this Court restraining and penalizing Phillips
8       66, these violations will continue.
9                                SEVENTH CLAIM FOR RELIEF
10                     Failure to Record and/or Report Time of Inspections
11                      (Violation of Rule 1173; Title V Permit Requirements)
12         77.         East Yard re-alleges and incorporates the allegations set forth in
13      Paragraphs 1 through 76.
14         78.         Rule 1173 requires refineries to use a “portable instrument” or
15      analyzer to measure component VOC leak concentrations, in accordance with
16      Method 21. 40 C.F.R. pt. 60, app. A-7, Meth. 21, § 2.1; Rule 1173(c)(12), (j).
17         79.         Refineries must provide instruments with sufficient time to respond
18      with VOC leak measurements. This response time “shall be equal to or less than
19      30 seconds.” 40 C.F.R. pt. 60, app. A-7, Meth. 21, § 8.1.3.2.
20         80.         To ensure compliance with Method 21, Rule 1173 directs refineries
21      to “include in all records of operator inspection and repair, at a minimum,” the
22      “time of inspection.” Rule 1173(i)(2). Refineries are required to submit quarterly
23      records of “all leaks, repairs and reinspections,” including time of inspections, to
24      the Air District. Rule 1173(i)(1).
25         81.         Recording and reporting the time of each inspection ensures
26      monitoring personnel are providing the portable analyzers with sufficient time to
27      measure VOC concentrations, as required under Method 21. Improper Method 21
28      monitoring may fail to detect VOC leaks accurately, including hazardous VOCs.
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1          82.      Phillips 66 has failed to record and/or report time of inspections at
2       least 12,374 times since 2014 at the Wilmington and Carson refineries. By not
3       recording and/or reporting time of inspections, Phillips 66 has failed to
4       demonstrate compliance with the applicable test method under Rule 1173.
5          83.      Without an order from this Court restraining and penalizing Phillips
6       66, these violations will continue.
7                              EIGHTH CLAIM FOR RELIEF
8            Failure to Confirm and/or Record Adequacy of Component Repairs
9                    (Violation of Rule 1176; Title V Permit Requirements)
10         84.      East Yard re-alleges and incorporates the allegations set forth in
11      Paragraphs 1 through 83.
12         85.      Rule 1176 requires regular inspections of wastewater systems and
13      related components to ensure VOC emissions are not “greater than 500 ppm
14      above background levels” at refineries. Rule 1176(c)(10), (e)(1).
15         86.      Refineries are required to repair any wastewater components with
16      excess emissions “within three calendar days of detection.” Rule 1176(c)(10),
17      (f)(3).
18         87.      After conducting component repairs, refineries must take
19      measurements to prove the corrective action reduced the leak rate below the
20      applicable threshold within the required repair time period. Rule 1176(f)(3).
21      These measurements are generally taken contemporaneous to a repair or
22      immediately thereafter. Without this measurement, refineries cannot determine
23      whether the corrective action actually constitutes a repair.
24         88.      Rule 1176 requires refineries to prepare and maintain an “inspection
25      record” that includes all “source tests” (or leak measurements) and “repairs.”
26      Rule 1176(g)(1)(C)(i). Phillips 66 routinely submits these inspection records to
27      the Air District.
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1          89.      Phillips 66 has failed to conduct and/or record leak measurements
2       after conducting repairs at least 324 times since 2014 at the Wilmington refinery.
3          90.      Without an order from this Court restraining and penalizing Phillips
4       66, these violations will continue.
5                               NINTH CLAIM FOR RELIEF
6                 Failure to Perform and/or Record Component Reinspections
7                    (Violation of Rule 1176; Title V Permit Requirements)
8          91.      East Yard re-alleges and incorporates the allegations set forth in
9       Paragraphs 1 through 90.
10         92.      Under Rule 1176, all repaired components must be reinspected within
11      “24 hours to 48 hours” by refineries. Rule 1176(f)(3).
12         93.      Similar to Rule 1173, these follow-up inspections “ensure that the
13      repaired or rectified component is in compliance with this rule.” Rule 1176(f)(3).
14      Non-compliant components identified by reinspections must undergo another
15      repair.
16         94.      Rule 1176 requires refineries to prepare and maintain an “inspection
17      record” that includes all “reinspections.” Rule 1176(g)(1)(C)(i). Phillips 66
18      routinely submits these inspection records to the Air District.
19         95.      Phillips 66 has failed to conduct and/or record reinspections within
20      24 hours to 48 hours after repairs at least 1,301 times since 2014 at the
21      Wilmington and Carson refineries.
22         96.      Without an order from this Court restraining and penalizing Phillips
23      66, these violations will continue.
24                              TENTH CLAIM FOR RELIEF
25                 Failure to Monitor Wastewater System Leaks Accurately
26                   (Violation of Rule 1176; Title V Permit Requirements)
27         97.      East Yard re-alleges and incorporates the allegations set forth in
28      Paragraphs 1 through 96.
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1          98.      Under Rule 1176, refineries must identify and repair wastewater
2       system components with “excess emissions” of VOCs. Rule 1176(f)(3).
3       Components leaking VOCs “greater than 500 ppm above background levels” are
4       releasing “excess emissions” and require repair. Rule 1176(c)(10), (e)(1).
5          99.      Rule 1176 requires refineries to determine “excess emissions” using
6       Method 21 to measure VOC component leaks above background levels, which is
7       the “ambient concentration of VOC in the air.” Rule 1176(c)(3), (10).
8          100.     Under Method 21, refineries use a “portable instrument” or analyzer
9       to measure component VOC leak concentrations. 40 C.F.R. pt. 60, app. A-7,
10      Meth. 21, § 2.1. Refineries must provide instruments with sufficient time to
11      respond with VOC leak measurements. This response time “shall be equal to or
12      less than 30 seconds.” 40 C.F.R. pt. 60, app. A-7, Meth. 21, § 8.1.3.2.
13         101.     Phillips 66 has failed to comply with Method 21 at the Wilmington
14      and Carson refineries, including but not limited to not providing instruments with
15      sufficient time to respond. Phillips 66’s improper Method 21 monitoring has
16      failed to detect VOC leaks accurately, including hazardous VOCs.
17         102.     Without an order from this Court restraining and penalizing Phillips
18      66, these violations will continue.
19                           ELEVENTH CLAIM FOR RELIEF
20       Failure to Maintain, Conduct and/or Report Quarterly Inspection Reports
21                   (Violation of Rule 1176; Title V Permit Requirements)
22         103.     East Yard re-alleges and incorporates the allegations set forth in
23      Paragraphs 1 through 102.
24         104.     Rule 1176 requires refineries to submit “a quarterly report” to the Air
25      District “in a format approved by the Executive Officer, within 30 calendar days
26      after the end of each quarter.” Rule 1176(g)(2)(B).
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1          105.       Based on information and belief, Phillips 66 has repeatedly failed to
2       submit and maintain quarterly inspection reports, and/or perform the required
3       quarterly inspections for the Wilmington and Carson refineries.
4          106.      Without an order from this Court restraining and penalizing Phillips
5       66, these violations will continue.
6                              TWELFTH CLAIM FOR RELIEF
7                   Failure to Record and/or Maintain Inspector Information
8                     (Violation of Rule 1176; Title V Permit Requirements)
9          107.     East Yard re-alleges and incorporates the allegations set forth in
10      Paragraphs 1 through 106.
11         108.     Rule 1176 requires refineries to record the “name and signature of the
12      certified inspector(s),” including “source tests, repairs, replacements, and
13      reinspection records,” conducting wastewater system inspections. Rule
14      1176(g)(1)(C)(i), (iii).
15         109.     Refineries are required to prepare and maintain an “inspection record”
16      that includes the “name and signature of the certified inspector(s).” Rule
17      1176(1)(C)(iii). Phillips 66 routinely submits these inspection records to the Air
18      District.
19         110.     Phillips 66 has failed to record and/or maintain inspector information
20      in at least 1,591 times since 2014 at the Wilmington and Carson refineries.
21         111.     The inspector information is important for two central reasons. First, it
22      ensures that monitoring personnel is accountable for inaccurate or misleading
23      information in these reports. Second, it helps refineries and regulators identify
24      monitoring personnel that require additional training on proper leak detection and
25      repair procedures. Such accountability and training are critical to identify and
26      address component fugitive emissions.
27         112.     Without an order from this Court restraining and penalizing Phillips
28      66, these violations will continue.
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1                                  PRAYER FOR RELIEF
2       WHEREFORE, East Yard respectfully requests that this Court:
3           I.     Enjoin Defendant preliminarily and permanently from operating the
4       Phillips 66 Wilmington and Carson refineries, except in accordance with the
5       requirements under Rules 1173 and 1176;
6           II.    Order Defendant to take appropriate action, including beneficial
7       mitigation projects to remedy, mitigate, and offset the harm to the public and the
8       environment caused by Defendant’s violation of the Clean Air Act;
9           III.    Assess civil penalties against Defendant per day, for each violation,
10      as authorized by the Clean Air Act, 42 U.S.C. § 7604(a) and based on 42 U.S.C.
11      § 7413(e) and 40 C.F.R. § 19.4;
12          IV.    Award East Yard its costs and attorneys’ fees in this action; and
13          V.     Grant other relief as the Court deems just and proper.
14
15                                               Respectfully submitted,
16
17      DATED: February 5, 2021                  /s/ Oscar Espino-Padron
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